Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 1 of 93 PageID #: 13




               EXHIBIT TO COMPLAINT
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 2 of 93 PageID #: 14
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 3 of 93 PageID #: 15
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 4 of 93 PageID #: 16
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 5 of 93 PageID #: 17
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 6 of 93 PageID #: 18
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 7 of 93 PageID #: 19
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 8 of 93 PageID #: 20
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 9 of 93 PageID #: 21
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 10 of 93 PageID #: 22
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 11 of 93 PageID #: 23
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 12 of 93 PageID #: 24
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 13 of 93 PageID #: 25
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 14 of 93 PageID #: 26
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 15 of 93 PageID #: 27
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 16 of 93 PageID #: 28
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 17 of 93 PageID #: 29
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 18 of 93 PageID #: 30
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 19 of 93 PageID #: 31
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 20 of 93 PageID #: 32
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 21 of 93 PageID #: 33
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 22 of 93 PageID #: 34
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 23 of 93 PageID #: 35
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 24 of 93 PageID #: 36
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 25 of 93 PageID #: 37
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 26 of 93 PageID #: 38
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 27 of 93 PageID #: 39
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 28 of 93 PageID #: 40
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 29 of 93 PageID #: 41
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 30 of 93 PageID #: 42
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 31 of 93 PageID #: 43
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 32 of 93 PageID #: 44
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 33 of 93 PageID #: 45
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 34 of 93 PageID #: 46
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 35 of 93 PageID #: 47
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 36 of 93 PageID #: 48
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 37 of 93 PageID #: 49
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 38 of 93 PageID #: 50
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 39 of 93 PageID #: 51
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 40 of 93 PageID #: 52
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 41 of 93 PageID #: 53
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 42 of 93 PageID #: 54
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 43 of 93 PageID #: 55
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 44 of 93 PageID #: 56
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 45 of 93 PageID #: 57
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 46 of 93 PageID #: 58
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 47 of 93 PageID #: 59
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 48 of 93 PageID #: 60
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 49 of 93 PageID #: 61
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 50 of 93 PageID #: 62
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 51 of 93 PageID #: 63
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 52 of 93 PageID #: 64
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 53 of 93 PageID #: 65
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 54 of 93 PageID #: 66
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 55 of 93 PageID #: 67
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 56 of 93 PageID #: 68
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 57 of 93 PageID #: 69
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 58 of 93 PageID #: 70
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 59 of 93 PageID #: 71
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 60 of 93 PageID #: 72
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 61 of 93 PageID #: 73
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 62 of 93 PageID #: 74
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 63 of 93 PageID #: 75
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 64 of 93 PageID #: 76
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 65 of 93 PageID #: 77
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 66 of 93 PageID #: 78
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 67 of 93 PageID #: 79
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 68 of 93 PageID #: 80
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 69 of 93 PageID #: 81
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 70 of 93 PageID #: 82
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 71 of 93 PageID #: 83
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 72 of 93 PageID #: 84
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 73 of 93 PageID #: 85
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 74 of 93 PageID #: 86
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 75 of 93 PageID #: 87
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 76 of 93 PageID #: 88
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 77 of 93 PageID #: 89
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 78 of 93 PageID #: 90
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 79 of 93 PageID #: 91
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 80 of 93 PageID #: 92
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 81 of 93 PageID #: 93
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 82 of 93 PageID #: 94
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 83 of 93 PageID #: 95
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 84 of 93 PageID #: 96
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 85 of 93 PageID #: 97
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 86 of 93 PageID #: 98
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 87 of 93 PageID #: 99
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 88 of 93 PageID #: 100
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 89 of 93 PageID #: 101
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 90 of 93 PageID #: 102
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 91 of 93 PageID #: 103
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 92 of 93 PageID #: 104
Case 2:19-cv-02858-JMA-SIL Document 1-1 Filed 05/14/19 Page 93 of 93 PageID #: 105
